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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
       v.                                    : CRIMINAL NO. 21-cr-296
                                             :
JEFFREY GRACE,                               :
     Defendant.                              :


               JOINT STATUS REPORT AND CONSENT MOTION TO
                   CONTINUE AND TOLL SPEEDY TRIAL ACT

       The United States of America, by and through its attorney, the United States Attorney

for the District of Columbia, respectfully files this Joint Status Report and Consent Motion to

File Another Joint Status Report with the Court and/or Hold a Status Conference on March 17,

2022, and to Toll Speedy Trial Act from February 17, 2022, until March 17, 2022.             The

Government and the defendant agree that there is good cause to toll the Speedy Trail Act and

exclude time from February 17, 2022, until March 17, 2022. Defendant concurs in this request

and agrees that it is in his best interest. Defendant has reviewed this motion and agrees to the

March 17, 2022, continuance. In support thereof, the government states as follows:

   1. The government and counsel for the defendant have conferred and are communicating

       in an effort to resolve this matter. The parties believe that they might reach a resolution

       within the next 30 days.

   2. The government has provided voluminous discovery to defense counsel and anticipates

       producing additional discovery in the coming weeks.            This includes cell phone

       extractions, full search warrant returns for cell site location information, various

       videos, CCTV, and other discovery. The government intends to produce additional

       discovery in the coming days. The defense is continuing to review the discovery.

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3. The parties agree that this stipulation and any order resulting therefrom shall not affect

   any previous order of pretrial release.

4. The parties jointly ask that they be allowed to file another joint status report with the

   Court and/or hold a status conference on or before March 17, 2022, to update the Court

   further on the status of this matter.

5. The parties agree that the failure to grant this continuance “would deny counsel for the

   defendant . . . the reasonable time necessary for effective preparation, taking into

   account the exercise of due diligence,” 18 U.S.C. § 3161(h)(7)(B)(iv). Therefore, “the

   ends of justice served by the granting of such continuance [will] outweigh the best

   interests of the public and the defendant in a speedy trial,” 18 U.S.C. § 3161(h)(7)(A),

   and the parties request an order to that end. The parties agree that pursuant to 18 U.S.C.

   § 3161, the time from February 17, 2022, through March 17, 2022, shall be excluded

   in computing the date for speedy trial in this case.

Dated: February 16, 2022

                                  Respectfully submitted,

                                  MATTHEW M. GRAVES
                                  UNITED STATES ATTORNEY

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